        Case 3:22-cv-05035-RSL Document 299 Filed 05/21/24 Page 1 of 1




                    UNITED STATES COURT OF APPEALS                        FILED
                            FOR THE NINTH CIRCUIT                          MAY 21 2024
                                                                       MOLLY C. DWYER, CLERK
                                                                        U.S. COURT OF APPEALS
SUSAN SOTO PALMER; et al.,                       Nos. 23-35595
                                                      24-1602
                Plaintiffs-Appellees,
                                                 D.C. No. 3:22-cv-05035-RSL
 v.                                              Western District of Washington,
                                                 Tacoma
STEVEN HOBBS, in his official capacity as
Secretary of State of Washington, and the        ORDER
STATE OF WASHINGTON,

                Defendants-Appellees,

JOSE A. TREVINO; et al.,

                Intervenor-Defendants-
                Appellants.

Before: TASHIMA and KOH, Circuit Judges.

      The motion to intervene in these consolidated appeals by State Senator

Torres (Docket Entry No. 63 in No. 23-35595) is denied. See Cameron v. EMW

Women’s Surgical Ctr., P.S.C., 595 U.S. 267, 276-77 (2022) (explaining that

appellate courts consider the policies underlying intervention in the district courts

when deciding whether to allow intervention on appeal); Bates v. Jones, 127 F.3d

870, 873 (9th Cir. 1997) (“Intervention on appeal is governed by Rule 24 of the

Federal Rules of Civil Procedure.”).

      The existing briefing schedule remains in effect.
